USCA11 Case: 23-10322    Document: 48-1     Date Filed: 08/27/2024   Page: 1 of 8




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-10322
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       DERRICK KAMRAN COLLINS,


                                                  Defendant- Appellant.


                          ____________________

                 Appeal from the United States District Court
                      for the Middle District of Florida
                  D.C. Docket No. 3:20-cr-00109-BJD-LLL-1
                          ____________________
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       2                      Opinion of the Court                23-10322


       Before NEWSOM, LUCK, and ANDERSON, Circuit Judges.
       PER CURIAM:
              Derrick Collins was convicted of passing counterfeit Federal
       Reserve notes, making counterfeit Federal Reserve notes, and pos-
       sessing counterfeit Federal Reserve notes in violation of 18 U.S.C.
       sections 471, 472, and 2. He now appeals the district court’s denial
       of his motions to suppress evidence obtained after an allegedly un-
       lawful traffic stop. Because the stop was lawful, we affirm.
              The essential facts are established by dash-camera footage
       and officer testimony that Collins doesn’t meaningfully dispute. In
       the early morning hours of November 21, 2019, Corporal Al-Hus-
       sein Hazime of the New Port Richey Police Department was pa-
       trolling along U.S. Highway 19. At around 12:50 A.M. he passed
       Collins’s car while it was stopped at a stop sign on Highway 19’s
       intersection with Green Key Road. There was no other traffic on
       Highway 19 besides Corporal Hazime.
              Corporal Hazime “would have expected, as [he] drove past
       [Collins’s car],” for Collins to turn onto the highway and “drive be-
       hind [him].” But Corporal Hazime watched Collins’s car for about
       one minute and it remained stopped at the stop sign. He testified
       that the car remaining stopped, despite no obstacles to entering the
       highway, concerned him for two reasons. First, a car staying
       stopped at a stop sign can indicate the driver has a medical issue.
       Second, it can indicate impaired driving.
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       23-10322               Opinion of the Court                          3

              Corporal Hazime made a U-turn onto the northbound side
       of Highway 19 to return to the intersection and investigate his con-
       cerns. As he did, Collins finally turned into the right southbound
       lane of Highway 19. Corporal Hazime made another U-turn to fol-
       low Collins. He “ma[d]e the observation” during the U-turn that
       Collins’s car “ha[d] dark tinted windows, which [he] believe[d] . . .
       [wa]s in violation of Florida state statute.” Then, while following
       Collins, Corporal Hazime changed lanes to the center lane “to con-
       firm [his] initial suspicion of [the] window tint violation.” “At this
       point[, Corporal Hazime] made an observation that [he] could not
       see the driver [and] could not see any portion through the win-
       dow.” In his experience, “that’s a clear indication that [the tint]
       violates [Florida’s] window tint laws.” So he initiated a traffic stop.
               Collins was arrested for obstruction of justice, refusing to
       obey lawful commands, and driving under the influence after Cor-
       poral Hazime and other responding officers observed belligerent
       behavior and signs of impaired driving. Collins also received a ci-
       tation for illegal window tinting after officers tested the car’s tint.
       An inventory search of Collins’s car revealed counterfeit bills, re-
       ceipts indicating those bills were used, and forgery equipment.
              Collins filed two motions to suppress the evidence found in
       his car after being indicted on the counterfeiting charges. He ar-
       gued that the initial traffic stop was unlawful because it wasn’t
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       4                          Opinion of the Court                       23-10322

                                                                         1
       supported by reasonable suspicion or probable cause. The gov-
       ernment responded that Corporal Hazime had probable cause to
       suspect a window tint violation or, alternatively, at least a reason-
       able suspicion that Collins was driving under the influence.
              After an evidentiary hearing, the magistrate judge recom-
       mended that the district court conclude the stop was lawful. Cor-
       poral Hazime, the magistrate judge explained, had probable cause
       to suspect a window tint violation. The magistrate judge found his
       testimony credible because it was corroborated by the dash-camera
       footage. Collins then objected to the magistrate judge’s recom-
       mendation, but the district court adopted it. Collins was found
       guilty of the counterfeit charges at a bench trial, and he was sen-
       tenced to thirty months’ imprisonment.
             Collins now appeals the denial of his suppression motions.
       He argues the district court erred by adopting the magistrate
       judge’s conclusion that there was probable cause to suspect a win-
       dow tint violation. He also contends Corporal Hazime actually
       stopped him for being stationary at the stop sign but there wasn’t
       anything criminal about that.
              When considering a district court’s denial of a motion to
       suppress, we review for clear error findings of fact. United States v.
       Jiminez, 224 F.3d 1243, 1247 (11th Cir. 2000). And we review


       1
        Collins also challenged the arrest, the length of the traffic stop, and the law-
       fulness of the inventory search. But he does not press those arguments on
       appeal, so we do not address them.
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       23-10322               Opinion of the Court                          5

       de novo the district court’s application of the law to the facts. Id.       Applying those standards here, we find no error.
              “A traffic stop constitutes an unreasonable seizure unless it
       is supported by reasonable suspicion of criminal activity or proba-
       ble cause that a [civil] traffic violation has occurred.” United States
       v. Andres, 960 F.3d 1310, 1317 (11th Cir. 2020) (citing United States
       v. Harris, 526 F.3d 1334, 1337 (11th Cir. 2008)); see also Whren v.
       United States, 517 U.S. 806, 810 (1996) (“As a general matter, the
       decision to stop an automobile is reasonable where the police have
       probable cause to believe that a traffic violation has occurred.”).
       “Probable cause is more than mere suspicion but does not require
       the same ‘standard of conclusiveness and probability as the facts
       necessary to support a conviction.’” United States v. Clark, 32 F.4th
       1080, 1088 (11th Cir. 2022) (quoting United States v. Dunn, 345 F.3d
       1285, 1290 (11th Cir. 2003)). An officer’s “[s]ubjective intentions
       play no role” in the analysis. Whren, 517 U.S. at 813. Instead, we
       analyze probable cause “from the standpoint of an objectively rea-
       sonable police officer.” United States v. Chanthasouxat, 342 F.3d
       1271, 1276 (11th Cir. 2003) (citation omitted).
              Here, we agree with the magistrate judge that probable
       cause existed to suspect Collins’s window tint violated Florida law.
       Florida law prohibits operating motor vehicles with excessively
       tinted windows. See Fla. Stat. § 316.2953 (restricting tint of a car’s
       front side windows); id. § 316.2954 (restricting tint of a car’s rear
       side windows); id. § 316.2956 (providing that violations of sec-
       tions 316.2953 and 316.2954 are noncriminal traffic infractions).
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       6                      Opinion of the Court                  23-10322

               An objectively reasonable officer could believe Collins vio-
       lated that prohibition. Corporal Hazime testified that he saw Col-
       lins’s “dark tinted windows” when passing Collins on the north-
       bound side of Highway 19. Then he changed lanes on the south-
       bound side to purposefully look into Collins’s windows, and he
       “could not see any portion [of Collins] through the window[s].”
       His inability to see any part of Collins was, in his experience and as
       corroborated by the dash-camera footage, a “clear indication” that
       the tint violated Florida law. These circumstances established
       probable cause. See United States v. Pena-Ponce, 588 F.3d 579, 581,
       583 (8th Cir. 2009) (concluding probable cause existed for a traffic
       stop because the officer, “based on his experience and training, be-
       lieved the window tint violated [state] law,” and that belief was cor-
       roborated by a video recording of the stop); United States v. Harrell,
       268 F.3d 141, 148–49 (2d Cir. 2001) (same, where the officer testi-
       fied he “observed that the car’s windows were tinted as he drove
       by it” and that observation wasn’t a “casual glance” because the
       officer “purposefully looked into the car as [he] passed it”).
               Collins resists that conclusion with three arguments. First,
       Collins contends Corporal Hazime’s testimony was not credible
       because he initially saw the window tint while “driving in a differ-
       ent direction in the dark.” But the magistrate judge found the tes-
       timony was credible. We must defer to that finding, adopted by
       the district court, because Corporal Hazime’s version of events
       wasn’t “unbelievable” or “contrary to the laws of nature.” United
       States v. Ramirez-Chilel, 289 F.3d 744, 749 (11th Cir. 2002) (citations
       omitted). Although Collins emphasizes Corporal Hazime’s version
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       23-10322                Opinion of the Court                          7

       was unbelievable because he initially passed Collins “in a different
       direction in the dark,” the dash-camera footage shows he also fol-
       lowed Collins in the same direction on a well-lit highway.
              Second, Collins argues that Corporal Hazime did not testify
       about any “technique [or] standard for checking window tint at
       night to make sure [his belief wa]s objectively reasonable.” But he
       cites no authority explaining why Corporal Hazime’s reliance on
       his experience was insufficient. Indeed, the only circuit-level au-
       thority Collins cites for this argument—United States v. Weaver—
       found probable cause to suspect a Florida window tint violation
       under similar circumstances to this case. See 145 F. App’x 639, 640–
       42 (11th Cir. 2005) (where the officer saw the defendant’s tinted
       windows around 11 P.M. and “pulled alongside [the] car” but
       “could not see the driver’s silhouette [or] the dashboard lights
       through the tinted windows”).
               Third, Collins argues there are exceptions to Florida’s prohi-
       bition on excessive window tinting and Corporal Hazime didn’t
       rule out that Collins benefited from an exception before initiating
       the stop. But the Supreme Court and this court have repeatedly
       explained that the probable cause standard doesn’t require officers
       “to rule out . . . innocent explanations” for a defendant’s conduct.
       District of Columbia v. Wesby, 583 U.S. 48, 61 (2018); see, e.g., Clark,
       32 F.4th at 1088.
              Because the traffic stop was supported by probable cause to
       suspect a window tint violation, we do not reach the government’s
       alternative ground for affirmance—that the stop was lawful
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       8                    Opinion of the Court             23-10322

       because there was reasonable suspicion that Collins was driving
       under the influence.
             The district court’s judgment is AFFIRMED.
